Dear Secretary Blunt:
This letter is in response to your correspondence submitting to us a statement of purpose prepared pursuant to Section 116.334, RSMo Supp. 1985, which is to be the petition title for a proposed amendment to Article X, Sections 1 and11(c) of the Missouri Constitution and also is to be the ballot title if the amendment is placed on the ballot. See our Opinion Letter No. 44-86.
We approve the legal content and form of the proposed statement, copy enclosed.
Under the provisions of Section 116.334, the approved statement of purpose must be used for the title of the petition to be circulated, in lieu of the title submitted by the proponents, and for the ballot title if the amendment is placed on the ballot.
Very truly yours,
                                  WILLIAM L. WEBSTER Attorney General
Enclosure